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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                                ANDERSON DIVISION

MYESHA SCOTT,                                 )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )      No. 8:16-cv-01748-MGL
                                              )
PMAB, LLC,                                    )
                                              )
       Defendant.                             )

                                PLAINTIFF’S COMPLAINT

       Plaintiff, MYESHA SCOTT (“Plaintiff”), through her attorney, Chauntel D. Bland,

Esquire, alleges the following against Defendant, PMAB, LLC (“Defendant”):

                                     INTRODUCTION

   1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

       U.S.C. 1692, et seq. (“FDCPA”).

   2. Count II of Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47

       U.S.C. §227, et seq. (“TCPA”).

   3. The TCPA was designed to prevent calls and text messages like the ones described herein,

       and to protect the privacy of citizens like Plaintiffs. “Voluminous consumer complaints

       about abuses of telephone technology – for example, computerized calls dispatched to

       private homes – prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC,

       132 S. Ct. 740, 744 (2012).

   4. In enacting the TCPA, Congress intended to give consumers a choice as to how corporate

       similar entities may contact them, and made specific findings that “[t]echnologies that

       might allow consumers to avoid receiving such calls are not universally available, are
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   costly, are unlikely to be enforced, or place an inordinate burden on the consumer. TCPA,

   Pub. L. No. 102–243, § 11. In support of this, Congress found that

           [b]anning such automated or prerecorded telephone calls to the
           home, except when the receiving party consents to receiving the call
           or when such calls are necessary in an emergency situation affecting
           the health and safety of the consumer, is the only effective means
           of protecting telephone consumers from this nuisance and privacy
           invasion.

   Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL 3292838,

   at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s purpose).

5. Congress also specifically found that “the evidence presented to the Congress indicates that

   automated or prerecorded calls are a nuisance and an invasion of privacy, regardless of the

   type of call….” Id. at §§ 12-13. See also, Mims, 132 S. Ct. at 744.

6. As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA case regarding

   calls to a non-debtor similar to this one:

           The Telephone Consumer Protection Act … is well known for its
           provisions limiting junk-fax transmissions. A less-litigated part of
           the Act curtails the use of automated dialers and prerecorded
           messages to cell phones, whose subscribers often are billed by the
           minute as soon as the call is answered—and routing a call to
           voicemail counts as answering the call. An automated call to a
           landline phone can be an annoyance; an automated call to a cell
           phone adds expense to annoyance.

   Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).

                            JURISDICTION AND VENUE

7. This Court has federal question jurisdiction because this case arises out of violations of

   federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).




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8. Venue and personal jurisdiction in this District are proper because Defendant does or

   transacts business within this District, and a material portion of the events at issue occurred

   in this District.

                                        PARTIES

9. Plaintiff is a natural person residing in Greenwood, Greenwood County, South Carolina.

10. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3).

11. Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

12. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6).

13. Defendant is, and at all times mentioned herein, a corporation and is a “person,” as defined

   by 47 U.S.C. § 153 (10).

14. Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.

15. Defendant is a collection agency located in Charlotte, North Carolina.

16. Defendant is a business entity engaged in the collection of debt within the State of South

   Carolina.

17. Plaintiff alleges that at all times relevant herein Defendant conducted business in the State

   of South Carolina and in the County of Greenwood, and within this judicial district.

18. Defendant’s business includes, but is not limited to, collecting on unpaid, outstanding

   account balances.

19. When an unpaid, outstanding account is placed with Defendant it is assigned an account

   number.

20. The principal purpose of Defendant’s business is the collection of debts allegedly owed to

   third parties.

21. Defendant regularly collects, or attempts to collect, debts allegedly owed to third parties.
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22. During the course of its attempts to collect debts allegedly owed to third parties, Defendant

   sends to alleged debtors bills, statements, and/or other correspondence, via the mail and/or

   electronic mail, and initiates contact with alleged debtors via various means of

   telecommunication, such as by telephone and facsimile.

23. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

 THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. § 227

24. As noted above, in 1991, Congress enacted the TCPA in response to a growing number of

   consumer complaints regarding certain telemarketing practices.

25. The TCPA regulates, among other things, the use of automated telephone equipment, or

   "autodialers."Specifically, the plain language of section 227(b)(l)(A)(iii) prohibits the use

   of autodialers to make any call to a wireless number in the absence of an emergency or the

   prior express consent of the called party.

26. According to findings by the Federal Communication Commission ("FCC''), the agency

   Congress vested with authority to issue regulations implementing the TCPA, such calls

   are prohibited because, as Congress found, automated or prerecorded telephone calls are

   a greater nuisance and invasion of privacy than live solicitation calls, and such calls can

   be costly and inconvenient. The FCC also recognized that wireless customers are charged

   for incoming calls whether they pay in advance or after the minutes are used.

27. On January 4, 2008, the FCC released a Declaratory Ruling wherein it confirmed that

   autodialed and prerecorded message calls to a wireless number by a creditor (or on behalf

   of a creditor) are permitted only if the calls are made with the ''prior express consent" of

   the called party. The FCC "emphasize[d] that prior express consent is deemed to be
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   granted only if the wireless number was provided by the consumer to the creditor, and that

   such number was provided during the transaction that resulted in the debt owed."

28. The TCPA prohibits the use of any "automatic telephone dialing systems" to call cellular

   telephones. It also prohibits the use of artificial or prerecorded messages.

       a. "Automatic telephone dialing system" means any equipment that has the "capacity

           to dial numbers without human intervention." Griffith v. Consumer Portfolio Serv.,

           Inc., 2011 WL 3609012 (N.D. Ill. Aug. 16, 2011) (emphasis original).

                              FACTUAL ALLEGATIONS

29. Defendant is attempting to collect a consumer debt belonging to Tina Walker (“Account”).

30. The alleged debt owed arises from transactions for personal, family, and household

   purposes.

31. Within the last year, Defendant began calling Plaintiff on her cellular telephone at 864-

   337-57xx, looking for Tina Walker.

32. Defendant calls Plaintiff from 704-319-7188, which is one of Defendant’s telephone

   numbers.

33. Defendant calls Plaintiff at an annoying and harassing rate, calling Plaintiff three (3) to

   four (4) times per day.

34. When Plaintiff answers Defendant’s telephone calls, Plaintiff is greeted by an automated

   message which advises Plaintiff to “press 4,” if she is not Tina Walker.

35. On more than one occasion, Plaintiff has pressed the number 4, and the call was

   immediately disconnected.

36. On more than one occasion, Defendant has left automated voicemail messages on

   Plaintiff’s cellular telephone.
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37. The aforementioned voicemail messages stated:

           “Hello this call is for Tina Walker. Hello. This call is from PMAB, LLC.
           All calls may be recorded. This call is regarding a business matter. Please
           call us at 704-553-7146, or toll free at 1-800-849-0088, Monday through
           Thursday from 8:00 a.m. to 8:00 p.m., or Friday and Saturday from 8:00
           a.m. to 4:00 p.m. This communication is from a debt collector. This is an
           attempt to collect a debt. Any information obtained will be used for that
           purpose. Please respond to the following reference number when calling.
           Thank you. (inaudible)8415. Once again that reference number is
           (inaudible)8415.”

38. Defendant placed collection calls to Plaintiff on his cell phone using an “automated

   telephone dialing system.”

39. Defendant made numerous telephone calls to Plaintiff’s cellular telephone. The

   telephone numbers that Defendant used to contact Plaintiff with an "automatic

   telephone dialing system," were assigned to cellular telephone services as specified in

   47 U.S.C. § 227(b)(l)(A)(iii).

40. The calls Defendant placed to Plaintiff's cellular telephone were placed using an

   automatic telephone dialing system.

41. Defendant uses an “automatic telephone dialing system”, as defined by 47 U.S.C. §

   227(a)(1), to place its repeated calls to Plaintiff.

42. Defendant’s calls constitute calls that are not for emergency purposes as defined by 47

   U.S.C. § 227(b)(1)(A).

43. Defendant frequently uses skip-tracing services to locate telephone numbers used by

   consumers whom Defendant wishes to call.

44. Defendant’s calls are placed to a telephone number assigned to a cellular telephone service

   for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

45. Under the TCPA and pursuant to the FCCs January 2008 Declaratory Ruling, the burden
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   is on the Defendant to demonstrate that the Plaintiff provided express consent within the

   meaning of the statute because it is the best entity to determine how numbers were attained.

46. Plaintiff is not a customer of Defendant’s services, and has never provided her cellular

   telephone number to Defendant for any purpose whatsoever.

47. Accordingly, Defendant never received Plaintiff’s “prior express consent” to receive calls

   using an automatic telephone dialing system or an artificial or prerecorded voice on her

   cellular telephone pursuant to 47 U.S.C. 227(b)(1)(A).

48. Even if Defendant received Plaintiff’s “prior express consent” to receive calls using an

   automatic telephone dialing system or an artificial or prerecorded voice, “prior express

   consent” was revoked when Plaintiff pressed the number indicated to inform Defendant

   that she was not Tina Walker.

49. The natural consequences of Defendant’s statements and actions was to produce an

   unpleasant and/or hostile situation between Defendant and Plaintiff.

50. The natural consequences of Defendant’s statements and actions was to cause Plaintiff

   mental distress.

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

51. Defendant violated the FDCPA based on, but not limited to, the following:

       a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

           consequences of which is to harass, oppress, and abuse any person in connection

           with the collection of an alleged debt when Defendant continuously placed phone

           calls to Plaintiff’s cellular telephone after Plaintiff requested Defendant to stop

           calling her;

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          b. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring

              repeatedly and continuously with the intent to annoy, abuse, and harass any person

              at the called number when Defendant continuously placed phone calls to Plaintiff’s

              cellular telephone after Plaintiff requested Defendant to stop calling her.

       WHEREFORE, Plaintiff, MYESHA SCOTT, respectfully requests judgment be entered

against Defendant, PMAB, LLC, for the following:

   52. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k.

   53. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

       15 U.S.C. 1692k.

   54. Any other relief that this Honorable Court deems appropriate.

                            COUNT II
   DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

   55. Plaintiff repeats and re-alleges paragraphs 1-50 of Plaintiff’s Complaint as the allegations

       in Count II of Plaintiff’s Complaint.

   56. Defendant made unsolicited commercial phone calls to the wireless telephone number

       of Plaintiff using equipment that had the capacity to store or produce telephone numbers

       to be called, using a random or sequential number generator, as evidenced by the pre-

       recorded nature of the calls.

   57. These phone calls were made without the prior express consent of Plaintiff.

   58. Defendant’s conduct therefore violated the TCPA by:

          a. Placing non-emergency telephone calls to Plaintiff’s cellular telephone using an

              automatic telephone dialing system and/or pre-recorded or artificial voice in

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              violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

       WHEREFORE, Plaintiff, MYESHA SCOTT, respectfully requests judgment be entered

against Defendant, PMAB, LLC., for the following:

   59. As a result of Defendant’s negligent violations of 47 U.S.C. 227(b)(1), Plaintiff is entitled

       to and requests $500.00 in statutory damages, for each and every violation, pursuant to 47

       U.S.C. 227(b)(3)(B).

   60. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. 227(b)(1),

       Plaintiff is entitled to and requests treble damages, as provided by statute, up to $1,500.00,

       for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B) and 47 U.S.C.

       227(b)(3)(C).

   61. Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the future.

   62. Any other relief that this Honorable Court deems appropriate.



                                      RESPECTFULLY SUBMITTED,




                                      By:_/s/Chauntel D. Bland____________________
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